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UNITED STATES DISTRICT COURT
DISTRICT OF MASSACHUSETTS

 

)
VICTIM RIGHTS LAW CENTER, )
EQUAL RIGHTS ADVOCATES, )
LEGAL VOICE, )
CHICAGO ALLIANCE AGAINST )
SEXUAL EXPLOITATION, )
JANE DOE,

an individual by and through
her mother and next friend
Melissa White,

NANCY DOE,

MARY DOE,

Plaintiffs,

CIVIL ACTION
NO. 20-11104-WGY

V.

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)
MIGUEL CARDONA, )
in his offical capacity as )
Secretary of Education, )
SUZANNE GOLDBERG, )
in her offical capacity as )
Acting Assistant Secretary for)
Civil Rights, )
UNITED STATES DEPARTMENT )
OF EDUCATION, )
)
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Defendants,
and
STATE OF TEXAS,

Intervenor-
Defendant.

 

YOUNG, D.J. October 14, 2021
ORDER

The motion to intervene of John Doe, Steve Doe, and Zachary

Doe, see Individual Movants’ Mot. Intervene Defs. Purposes

[1]
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Appeal (“Does’ Mot.”), ECF No. 196, and the motion to intervene
of Families Advocating for Campus Equality, see Families
Advocating for Campus Equality’s Mot. Intervene Def. Purposes
Appeal (“FACE’s Mot.”), ECF No. 197, are DENIED.

Timeliness “is the sentinel that guards the gateway to
intervention.” In re Efron, 746 F.3d 30, 35 (lst Cir. 2014).
“One of the core purposes of the timeliness requirement is to
prevent disruptive, late-stage intervention that could have been
avoided by the exercise of reasonable diligence.” R & G Mortg.
Corp. v. Fed. Home Loan Mortg. Corp., 584 F.3d 1, 9 (ist Cir.
2009). In this context, “the most important factor is the
length of time that the putative intervenor knew or reasonably
should have known that his interest was imperilled before he
deigned to seek intervention.” In re Efron, 746 F.3d at 35; see
R & G Mortg. Corp., 584 F.3d at 8 (“In the last analysis, the
timeliness inquiry centers on how diligently the putative
intervenor has acted once he has received actual or constructive
notice of the impending threat.”). “As a case progresses toward
its ultimate conclusion, the scrutiny attached to a request for

intervention necessarily intensifies.” R_& G Mortg. Corp., 584

 

F.3d at 7. Courts therefore view motions to intervene filed

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after the entry of judgment “with a jaundiced eye

Banco Popular de P.R. v. Greenblatt, 964 F.2d 1227, 1231 (1st

 

Cir. 1992).

[2]
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The putative intervenors filed their motions on September
27, 2021, approximately two months after the entry of judgment.
Compare Does’ Mot. (filed Sept. 27, 2021), and FACE’s Mot.
(filed Sept. 27, 2021), with Findings Fact, Rulings Law, & Order
J., ECF No. 183 (filed July 28, 2021). The putative intervenors
knew or reasonably should have known that their interests were
imperilled much earlier, as early as June 10, 2020, when the
plaintiffs filed this action challenging the putative
intervenors’ favored regulation, Compl. Declaratory & Inj.
Relief, ECF No. 1, and certainly by March 8, 2021, when the new
Presidential administration issued an executive order directing
the Secretary of Education to review the regulation for
consistency with the new President’s policy platforms, see
Notice Issuance Executive Order, ECF No. 161.

If more were needed (it is not), the putative intervenors
fail to explain how the State of Texas, which this Court allowed
to intervene for purposes of appeal, Electronic Order, ECF No.
195, will not adequately protect their interests.

This Court therefore DENIES the putative intervenors’
motions -- seeking both intervention as of right and permissive
intervention -- as untimely and as unsupported by a showing of
inadequate representation. See R & G Mortg. Corp., 584 F.3d at
7, 11 (*“({W]hen a putative intervenor seeks both intervention as

of right and permissive intervention, a finding of untimeliness

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with respect to the former normally applies to the latter (and,
therefore, dooms the movant’s quest for permissive

intervention).”).

SO ORDERED.

 

DISTRICT JUDGE

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